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 Bruce A. Weil

  From: Leah A. Dundon (LDundon(gbdlaw.com)
  Sent: Wednesday, September 10,20089:48 PM
  To: Bruce A. Weil
  Cc: Tache, Walter J.; John N. Hanson
  Subject: Gioia v. Bockweg

Bruce --

We are in receipt of your correspondence dated September 8, 2008 in which you request to depose the Plaintiffs'
expert in this matter prior to the discovery deadline of September 26th. Given that your request comes just three
weeks before the close of discovery in a case in which discovery has been ongoing for many months, the only
day on which counsel and Plaintiffs' expert are both available prior to the discovery cut off date is September 25,
2008, and that is only if the deposition occurs in Washington, D.C., at our offices. September 29th is the next
available date, and on that date the deposition could occur in Tampa, Florida or in Washington, D.C. If you are
unable to depose our expert on September 25th in Washington, we will not oppose your motion to the court
requesting leave to depose Plaintiffs' expert on the 29th, outside the discovery period. If you are unavailable on
both the 25th and the 29th in the noted cities, please suggest some dates after that and we will    let you know of
our and our expert's availability.

Also, please let me know if we do have an agreement to provide each other, as a courtesy, electronic copies of
our papers on the fiing or service day.

Regards,

Leah


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                                          EXHIBIT A

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